

75 St. Servicing LLC v CLST Enters. LLC (2023 NY Slip Op 05441)





75 St. Servicing LLC v CLST Enters. LLC


2023 NY Slip Op 05441


Decided on October 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 26, 2023

Before: Webber, J.P., Moulton, González, Kennedy, JJ. 


Index No. 850001/21 Appeal No. 914 Case No. 2022-04757 

[*1]75 Street Servicing LLC, Plaintiff-Respondent,
vCLST Enterprises LLC, et al., Defendants-Appellants, "John Doe #1," et al., Defendants.


Law Office of Jason S. Matuskiewicz, Brooklyn (Law Office of Jason S. Matuskiewicz of counsel), for appellants.
Glenn Rodney, P.C., Wallkill (Glenn Rodney of counsel), for respondent.



Order, Supreme Court, New York County (Francis A. Kahn III, J.), entered May 4, 2022, which granted plaintiff's motion for summary judgment on its foreclosure complaint and an order of reference, and dismissed defendants' affirmative defenses, unanimously affirmed, without costs.
Based on the nonwaiver provision of the note and mortgage, the acceptance of monthly payments by plaintiff's predecessor in interest, Sterling National Bank, following the July 1, 2019 maturity date of its loan to defendant CLST Enterprises LLC, did not constitute a waiver of the contractual conditions for extending the loan beyond the maturity date (see Flushing Unique Homes, LLC v Brooklyn Fed. Sav. Bank, 100
AD3d 956 [2d Dept 2012]; see generally Rosenzweig v Givens, 62 AD3d 1, 7 [1st Dept 2009], affd 13 NY3d 774 [2009]). CLST did not otherwise establish that it satisfied those contractual conditions.
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 26, 2023








